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                                            October 9, 2020



  Via ECF

  Hon. Richard M. Berman
  United States District Judge
  Southern District of New York
  Daniel Patrick Moynihan U.S. Courthouse
  500 Pearl Street
  New York, New York 10007

             Re:   United States v. Türkiye Halk Bankasi A.Ş., S6 15 Cr. 867 (RMB)


  Dear Judge Berman:

          We submit this letter motion to inform the Court that we have filed our notice of appeal
  regarding the Court’s denial of our motion to dismiss the indictment for lack of subject matter
  jurisdiction based on foreign sovereign immunity, and to respectfully request that the Court
  vacate all pretrial, trial, and related deadlines. See ECF No. 679. The collateral order doctrine
  “allows an immediate appeal from an order denying immunity under the [Foreign Sovereign
  Immunities Act].” Kensington Int’l Ltd. v. Itoua, 505 F.3d 147, 153 (2d Cir. 2007); Filler v.
  Hanvit Bank, 378 F.3d 213, 216 (2d Cir. 2004) (same). “The filing of a ‘timely and sufficient
  notice of appeal’ divests the district court of jurisdiction ‘as to any matters involved in the
  appeal’ or ‘as to the matters covered by the notice.’” New York v. U.S. Dep’t of Homeland Sec.,
  --- F.3d ----, 2020 WL 5495530, at *3 (2d Cir. Sept. 11, 2020) (per curiam). “[O]nce a notice of
  appeal has been filed, a district court may take actions only ‘in aid of the appeal or to correct
  clerical errors.’” Id.; see also Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)
  (per curiam) (“The filing of a notice of appeal is an event of jurisdictional significance—it
  confers jurisdiction on the court of appeals and divests the district court of its control over those
  aspects of the case involved in the appeal.”); United States v. Goolsby, 820 F. App’x 47, 51 (2d
  Cir. 2020) (same in the criminal context). In the alternative, we respectfully request that this
  Court grant a discretionary stay of all deadlines. See, e.g., United States v. Bical, 409 F. Supp.
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3d 51, 52 (E.D.N.Y. 2019) (stay standard). Accordingly, we respectfully request that this Court
vacate all pretrial, trial, and related deadlines.1

                                                            Respectfully,

                                                            /S Robert M. Cary

                                                            Robert M. Cary

cc:     Counsel of record




1
 Neither this motion nor the notice of appeal withdraws Halkbank’s petition for mandamus on recusal. Halkbank
continues to object to this case proceeding until the recusal issue has been fully and finally decided.
